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8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10

11     UNITED STATES OF AMERICA                     Case No.: 2:90-cv-90718-WDK-AFM
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13               Plaintiff,                         ORDER GRANTING PLAINTIFF’S
14            Vs.                                   APPLICATION PERMITTING
15     DEREK D. MOORE, D.D.S                        SERVICE OF PROCESS
16

17              Defendant.
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20          IT IS HEREBY ORDERED, that Plaintiff’s Application for Order
21    Permitting Service of Process is Granted, and that any agent of DIRECT LEGAL
22    SUPPORT, who is at least 18 years of age, of suitable discretion, and not a party
23    for this action, be authorized and appointed the serve the Writ Issued in this action.
24          IT IS ORDERED.
25

26    DATED: September 18, 2018              _________________________________
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                                             HON. WILLIAM D. KELLER
                                             United States District Judge
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